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              EXHIBIT P
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American Whiskey/Bourbon Report
June 6th 2015
Written and Compiled By Stephen Sacra
Owner of VIP Products and creator of the “Bad Spaniels” Parody dog toy




Purpose:

The purpose of this report is to evaluate and statistically analyze the use of bottles and labels in the whiskey and
bourbon industry. The goal is to identify and collect data of each “Brand House” portfolio, and the list of brands
that are being produced, or claim to originate in the states of Tennessee and Kentucky. Further, this report will
identify market competitors, competing brands, and the use of both broad and specific characteristics of bottles,
bottle features, labels, and label features present in today’s market and throughout history, going back to birth of
bottling spirits. In the end, this report will provide a clear and statistical analysis of bottling and labeling practices
of the Whiskey and Bourbon Industry, and more specifically how it relates to Jack Daniel’s bottle design and
alleged bottle trade dress.




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Who is Stephen Sacra?




Education & Design Background:

My name is Stephen Sacra and my education consists of a bachelor’s degree from Arizona State University from
the school of engineering for integrated computer graphics and 3D multimedia. Of my 5 years degree, 3 of those
years were spent in the school of architecture studying for industrial design. My shift to the school of engineering
was to incorporate the use of computers into my education in design. I have been designing and manufacturing
products for my own companies and companies of others as far back as 1995, giving me 20 years of experience
with the process and development of molded and injected products, manufacturing, marketing and distribution.

Liquor Industry Background:

Let’s get to the point… I was never the CEO of the largest liquor distributor in the world, and I don’t have 50 years
experience as the head of marketing for a billion dollar liquor company, and it goes without saying I am not a
lawyer either. I guess that is why I have to hire experts and lawyers to present facts that my own personal
experience has taught me to be true.

So what is my experience? At the age of 21….. 22 years ago…..which is half of my existence, I got a job working for
Anheuser Busch promoting and launching brands into the market. This amazing job lasted through my college
years and meant that I spent every afternoon and every night, year after year in a bar drinking and promoting
alcoholic beverages. During which time, I met my now wife, 20 years ago, who also worked in marketing and
promotions for Miller Brewing Company and Bacardi. My wife worked in the liquor industry until the early 2000s
and It took me those 7 years to convince her to marry me, which means I was in a bar every night promoting or
aiding in the promotions of alcohol for the better part of 10 years.

Since I was always in a bar…. cooking was not on the forefront of my skill set and the habit of eating out for every
meal, sitting at a bar, conversing with industry staff, has become part of my life. To this day, I eat minimum of 2
times a day 365 days year in a restaurant or bar, 95% of which I sit at the bar staring directly at the back bar full of
alcohol. It is safe to say that in 22 years of the 16,060 meals that I have consumed, I have had over 10,000 in a bar
or restaurant. So, at the minimum, I can say that compared to anyone else who is reading this… I without a doubt
am an expert at eating out, talking with bar staff, and staring at bottles alcohol and their sizes shapes and colors on
the back bar.




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Tequila Collector, With Largest Private “Bottle” Collection in the USA:

Somewhere along the way, I fell in love with tequila and when I moved into my last house, I decided to build the
first ever “Tequila Room”. This room pictured below is a 225 square foot tequila room with over 600 different
bottles of the more unique tequilas of the over 3000 in production that I have learned exist or existed. This room is
chilled down to 57 degrees, the perfect temperature for consuming straight from the bottle. To date, I believe that
I have the largest “private” collection of tequila in the United Sates, and my network of Mexican tequila distillers,
and industry friends that work for the big brand houses, tell me they know of no one else that has come forth to
challenge my claim.



The shelves below are as deep as a wine bottle is tall and behind every bottle you see are 2 more bottles.




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As a collector of tequila, I am not only collecting what is inside the bottle, but I am collecting unique one of a kind
hand crafted bottles to display in this amazing room. The fact is….Mexico is one of the only countries that believes
that the heritage of true craftsmanship should be displayed on the outside of a bottle, and they honor this
tradition by selling their premium tequilas in truly unique one-of-a-kind bottles handmade from a true artist. I have
7 years collecting and shopping for tequila bottles, and my experience has taught me how to distinguish the
difference between a unique bottle and an Industry bottle. With a room that is now full, I am now only on the
quest for the most unique.




Bottle to the right is an example of a hand crafter one of a kind.




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Reporting Method
Scope:
This Report focuses specifically at American whiskey/bourbon Industry. Bad Spaniels dog toy is a parody of an
American whiskey/bourbon and, thus, including spirits from other countries would make this report overly broad.

Inclusion of Competitors:
The word “competitive” is extremely important because you cannot understand the industry until you have
identified the market competitors. This report focuses on collecting, and presenting data for the competitors in
the American whiskey/bourbon Industry as a whole. The report looks at all the companies equally and compiles
data found for Brown Forman, Jack Daniel’s and their competitors both large and small. By looking at the entire
market segment, this report is able to look at Jack Daniel’s as a percentage of an industry and evaluate the Jack
Daniel’s business on an even playing field with their competitors.

Narrowing of Scope:
 In order to get a good sample of the market without having to look at every bottle in existence, I narrowed the
focus to the largest producers of American whiskey/bourbon in Tennessee and Kentucky, representing the largest
segment of the market and the most number of bottles sold, generating the largest portion of the industry
revenue.

Collection of Data:
Data for this report was collected from the internet and a few months of research that I have put into learning
more about the industry, Brown Forman, and more specifically its immediate competitors. The data I collected is in
the form of images of bottles, referenced against the brand’s website, or past website, and data from industry
advertisements and internet blogs and historical websites. Each bottle used is numbered and referenced in the
calculation of data spreadsheets. Each bottle shown, to the best of my knowledge and research is sold, was sold, or
is being sold in the global market.

Defining the Industry Pyramid Structure:
The American whiskey/bourbon Industry can be broken down as Follows:

Brand House - This is the mother company that owns the portfolio of the industry brands. The brand houses are
the TRUE companies that compete against one another in the market place. Each brand house will have many
brands in its portfolio.

Distilleries – These are the factories owned by the brand houses that produce the product that is packed and
marketed as the different brands found in the global market place.

Brands – Inside each brand house is a list of brands that are marketed and sold, and many brands are made by the
same distilling factories.

Styles/Blends – Inside each brand are different styles of products that are produced and marketed under each
brand. Many brands duplicate styles and blends and others have one of a kind styles and blends.




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Method for Collection of Data:


General Steps:

   1.  Research and determine all the major brand houses making products in Kentucky and Tennessee that are
       “competitors” to Jack Daniel’s.
   2. Research and include all the distilleries under the brand house
   3. Research and include all of the American whiskey /bourbon brands of each house
   4. Research and Include all of the styles and blends of each brand
   5. Compile a list of features identified by Jack Daniel’s as a part of their alleged bottle trade dress and
       trademarks
   6. Research a list of styles, blends, and brands of each house distillery
   7. Find visual representations of each of the above results using the internet
   8. Look at each visual representation found and compare it to the list of features identified by Jack Daniel’s
       as a part of their alleged bottle trade dress and trademarks.
   9. Compile the data in a spreadsheet separating by each brand house which represents each competitor of
       the mother company Brown Forman, owners of Jack Daniel’s.
   10. Compile the data in a spreadsheet with all brands and styles as a total.
   11. Research financial data for Each brand house from the SEC to determine who would be considered Brown
       Forman/Jack Daniel’s equivalent competitor in both brand house and brands.



Method & Steps to Analyze Bottle Design and Trademark:

   1.   Separate bottles by shape, then style, and identify groups of bottles with similar characteristics.
   2.   Calculate the % that each style of bottle represents as part of the whole.

Method & Steps to Analyze Ornamental Label Design and Alleged Bottle Trade Dress:

   1.   Sort bottles by features identified by Jack Daniel’s as a part of their alleged bottle trade dress
   2.   Calculate the % that each feature represents as part of the whole.




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                             Bottle Design Analysis
         A Statistical Evaluation of Data Collected from Reviewing 114 Bottles

                           From 7 Brand Houses and Others
                         (See spreadsheet for individual detail and bottle data)




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                                                                                                     SAC0007
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Background
Trademark Office Registration, No. 4,106,178

Jack Daniel’s Properties, Inc. (“JDPI”), owned by Brown Forman Inc, the owners of the Jack Daniel’s portfolio,
claims that it holds a trademark in “a square shape bottle container . . . for distilled spirits.” The Jack Daniel’s
bottle shape has a U.S. Patent and Trademark Office Registration, No. 4,106,178, for “the three-dimensional
configuration of the square shaped bottle container for the goods, having an embossed ridge or scalloped design
on the neck portion of the bottle, and an embossed signature design comprised of the words ‘JACK DANIEL’” (see
Amended Complaint, paras. 18 and 21, and Amended Answer, paras. 18 and 21).




Illustration on Right

The Jack Daniel’s bottle design as illustrated in the Trademark Office registration




Primary Features

The Jack Daniel’s bottle design has three primary features:

(1) a square shaped bottle container

(2) an embossed ridge or scalloped design on the neck portion of the bottle, and

(3) an embossed signature design.




Statistical Objectives
VIP reviewed 114 bottles used by American whiskey/bourbon brands to determine whether the combined three
elemental features of the Jack Daniel’s bottle design are:

    1.   Basic design features common in the industry for distilled spirits, particularly bourbon and other American
         whiskey; features that, if allowed to be used exclusively by Jack Daniel’s, would significantly undermine a
         competitor’s ability to compete with Jack Daniel’s in the sale of distilled spirits
    2.   design elements that are merely ornamental or decorative and do not function as features signifying
         products from the Jack Daniel’s
    3.    A combination of features that is generic for distilled spirits in general or American whiskey in particular
         because their primary significance is to identify any distilled spirits, particularly bourbon or other
         American whiskey, rather than products from Jack Daniel’s
    4.    A mere refinement of or variation on existing bottle design or bottle trade dress with the field of distilled
         spirits and whiskey in particular.

The following pages reveal the results of that review and an analysis of those results and the conclusions drawn
from that analysis.

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                                                                                                                          SAC0008
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Summary of Results for Bottles & SHAPES:
**SEE Spreadsheet of collected data

Brand Houses:

        BRAND HOUSE                       Number Of                    Reported 2013 Revenue      Percentage
                                          Bottles                      (As Reported to the SEC)   Bottles / Total
                                          Reviewed
1     Alltech                             3                            Private                                3%
2     Beam Suntory                        25                           3,148,400,000.00                      22%
3     Brown Forman                        13                           3,784,000,000.00                      11%
4     Heaven Hill                         19                           Private                               17%
5     KBD (Kentucky Bourbon Distillers)   12                           Private                               11%
6     Luxco                               8                            Private                                7%
7     Sazerac Brands                      21                           Private                               18%
8     Others                              13                           Unknown                               11%
                                    TOTAL 114                                                               100%
          As Reported to the SEC
ADVERTISING Budget Beam Suntory 2013                                   401,000,000
ADVERTISING Budget Brown Forman 2013                                   408,000,000


Observation: Beam Suntory and Jack Daniel’s are comparable competitors, noted by the fact
that they have similar revenue and have comparable advertising budgets. Both companies are
publicly traded and they both make whisky/ bourbon spirits. Beam Suntory has 12 additional
brand bottles available to review in the review set.

Listing of 12 identified Distinct Bottle Shapes: 9 | P a g e


**Photos of bottle categories on 12 following pages

        Square      Height         Neck fluting       Additional Shape Description     QTY         Percentage
        /Round                     and faceting                                                    Bottles / Total
1       Round       Tall                              Flared Bottom                    3                       3%
2       Round       Tall                              Wine Bottle Shape                4                       4%
3       Square      Tall           No                 Neck: Varies                     4                       4%
4       N/A         Vary                              Reverse Tear Drop                5                       4%
5       Round       Short                             Neck : Short                     6                       5%
6       Round       Tall                              Neck: Tall                       6                       5%
7       Round       Tall                              Neck: Tall                       7                       6%
8       Square      Short          No                 Neck: Short                      9                       8%
9       Round       Tall                              Neck: Short                      9                       8%
10      Round       Tall                              Neck: Generic Round              11                     10%
11      N/A         N/A                               Unique Bottle Shape              8                       7%

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 12      Square    Tall     YES         Neck: Generic Fluted or Faceted 42             36%
                                                                  TOTAL 114           100%


           Bottle Shape 1




 10 | P a g e
9| P a g e




                                                                                          SAC0010
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              Bottle Shape 2




  11 | P a g e
10| P a g e




                                                                                  SAC0011
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            Bottle Shape 3




 12 | P a g e
11| P a g e




                                                                                SAC0012
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        Bottle Shape 4




13 | P a g e
12| P a g e




                                                                             SAC0013
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          Bottle Shape 5




14 | P a g e
 13| P a g e




                                                                              SAC0014
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         Bottle Shape 6




 15 | P a g e
14| P a g e




                                                                              SAC0015
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     Bottle Shape 7




16 | P a g e
15| P a g e




                                                                            SAC0016
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    Bottle Shape 8




 17 | P a g e
16| P a g e




                                                                             SAC0017
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  Bottle Shape 9




 18 | P a g e
17| P a g e




                                                                              SAC0018
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Bottle Shape 10




 19 | P a g e
 18| P a g e




                                                                              SAC0019
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Bottle Shape 11




    20 | P a g e
    19| P a g e




                                                                                 SAC0020
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Bottle Shape 12




      21 | P a g e
      20| P a g e



                                                                                   SAC0021
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***This page is designed as a visual aid for you to see all of the design subsets together and easily recognize that among 114 bottles
    reviewed the most “Common and Generic” are square with fluted or faceted necks
            22 | P a g e




                                                                                                                                  SAC0022
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Statistics of Bottle Shape # 12 (Industry Generic Square)
42 Square Bottles with Neck Fluting and Faceting (36% )
         BRAND HOUSE                       Number Of            Comment                               Percentage
                                           Bottles                                                    Bottles / Total
1        Alltech                           0                                                                       0%
2        Beam Suntory                      12                   11 Brand Embossed Bottle                          29%
3        Brown Forman                      9                    7 Brand Embossed Bottle                           21%
4        Heaven Hill                       8                                                                      19%
5        KBD (Kentucky Bourbon Distillers) 2                                                                       5%
6        Luxco                             4                                                                      10%
7        Sazerac Brands                    4                                                                      10%
8        Others                            3                                                                       7%
                                  TOTAL 42                                                                       100%


Statistics of 21 Square Bottles with Neck Fluting and Faceting and Including Embossed Brand
*Matches the 3 primary features of bottle design claimed in Jack Daniel’s Trademark reg no. 4,106,178
         BRAND HOUSE                         Number Of                  Comment                       Percentage
                                             Bottles                                                  Bottles / Total
2        Beam Suntory                        11                         Brand Embossed Bottle                     61%
3        Brown Forman                        7                          Brand Embossed Bottle                     39%
                                       TOTAL 18                                                                  100%


Conclusions:

    1.   The bottle design with the largest percentage in the market, at 36%, is the generic “square” bottle with
         fluting or faceting on the neck. The next closest shape is the generic “round” bottle at 10%. These two
         bottle styles represent 46% of all the shapes reviewed in this study.
    2.   The 2 larger brand houses, Beam Suntory and Brown Forman, represent collectively 7 billion dollars of the
         spirit market and appear to be equivalent competitors in the American whiskey/bourbon segment of the
         market.
    3.   Beam Suntory has 11 bottles that incorporate a square bottle with fluting or faceting, and an embossed
         logo and Jack Daniel’s has 7.
    4.   There are 18 Bottles in the bottles reviewed that are square bottles with neck fluting and/or faceting with
         and embossed brand. 61% of these bottles are produced by Beam Suntory, and 39% are produced by Jack
         Daniel’s.
    5.   These 18 bottles represent 16% of the total bottles reviewed giving Beam Suntory 9.7% of the total 114
         gottles reviewed and Jack Daniel’s 6.3%
    6.   48% of bottles reviewed are square in shape

Margin of Error:

With the sampling size of over 100+ bottle the addition or exclusion of any one bottle would only modify the
findings less that 1%. It would require an allowance or disallowance of 20+ bottles to the largest subset to make a
significant change in the outcome. Otherwise the findings of fact would remain unchanged.



23 | P a g e




                                                                                                                       SAC0023
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                      Corporate Financial Information
               Identification of a Brown Forman Competitor in Gross Sales

                                          And

                  Comparable Advertising and Marketing Expenditures




24 | P a g e




                                                                                         SAC0024
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20012 & 2013 SEC Filings
 BEAM - Beam Inc                                            BFB - Brown Forman Corp
                              Y 2013          Y 2012                                  Y 2013          Y 2012

                            12/30/2013      12/30/2012                              4/29/2013       4/29/2012
                            $3,148,400,00   $3,063,900,00                           $3,784,000,00   $3,614,000,00
 Sales                                  0               0   Net sales                           0               0
                            ($601,100,000   ($604,200,000
 Less: Excise taxes                     )               )   Excise taxes            $935,000,000    $891,000,000
                            $2,547,300,00   $2,459,700,00
  Net sales                             0               0   Cost of sales            $894,000,000    $928,000,000
                            $1,067,900,00   $1,023,700,00                           $1,955,000,00   $1,795,000,00
 Cost of goods sold                     0               0     Gross profit                      0               0
                            $1,479,400,00   $1,436,000,00
  Gross profit                          0               0   Advertising expenses    $408,000,000    $395,000,000
                                                            Selling, general, and
 Advertising and                                            administrative
 marketing expense          $401,000,000    $398,700,000    expenses                $650,000,000    $610,000,000
 Selling, general and                                       Amortization
 administrative expense     $392,200,000    $412,900,000    expense                        $0.00      $3,000,000
 Amortization of                                            Other expense
 intangible assets           $17,500,000     $17,200,000    (income), net            ($1,000,000)    ($1,000,000)
 Gain on sale of brands
 and related assets         ($13,200,000)               -     Operating income      $898,000,000    $788,000,000

 Restructuring charges       $15,300,000      $4,300,000    Interest income           $3,000,000      $3,000,000
 Business separation
 costs                                  -    $13,800,000    Interest expense         $36,000,000     $31,000,000
 Asset impairment                                             Income before
 charges                     $49,500,000     $15,600,000    income taxes            $865,000,000    $760,000,000

  Operating income          $617,100,000    $573,500,000    Income taxes            $274,000,000    $247,000,000

 Interest expense            $91,600,000    $109,000,000      Net income            $591,000,000    $513,000,000
 Loss on early
 extinguishment of debt      $56,900,000                -

 Other income                ($8,800,000)   ($35,100,000)
   Income from
 continuing operations
 before income taxes        $477,400,000    $499,600,000

 Income taxes               $111,900,000     $96,200,000
   Income from
 continuing operations-
 Beam Inc.                  $365,500,000    $403,400,000
 (Loss) income from
 discontinued operations,
 net of tax                  ($3,000,000)   ($18,200,000)

  Net income                $362,500,000    $385,200,000
 Less: Noncontrolling
 interests related to
 discontinued operations                -               -
   Net income
 attributable to Beam
 Inc.                       $362,500,000    $385,200,000




Observations:

 Beam Suntory and Jack Daniel’s are Comparable competitors, they both have comparable advertising budgets,
they are both publicly traded, and they both make whisky/ bourbon spirits.

25 | P a g e




                                                                                                                    SAC0025
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               Additional Observations Regarding Bottle Shape
                   Line Drawings Comparing Past and Present Bottle Design

      Comparing Jim Beam and Other Brown Forman Brands Side By Side with Jack Daniel’s




26 | P a g e




                                                                                             SAC0026
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Additional Observations Regarding Bottle Shapes:
http://designcue.com/case/jack-Daniels/




”The design stays true to the legacy of the original square bottle with fluted
neck that Mr. Jack selected back in 1895”


Observations:

It appears that the company called Cue is the brand design company that played a pivotal role in the bottle
redesign, as they have posted the above image on their site. This image shows clearly that the intention was to
make a slight modification to an existing bottle shape. In the pictures to follow you will want to note that the
“Previous” bottle is almost identical to the Jim Beam bottle. The differences you can see are also “Slight
Modifications” between all of the bottles amongst brands old and new




27 | P a g e




                                                                                                                   SAC0027
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Additional Observations Regarding Bottle Shapes:




Conclusions:

At some point in business Jack Daniel’s owned by Brown Forman, and Jim Beam were using bottles and labels that
are remarkably similar. As you can see from the photo, both bottles are square in shape , both have fluting or
faceting of the neck, have an embossed logo , have ingress areas for the placement and protection of labels, have
similar bulb shape necks, and have similar rounded top and bottom bodies.



** All Images were acquired from the internet and had to be scaled based on pixel and Image size. These are
general images for comparison purposes only. Perfect representations do not change the facts stated above.

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                                                                                                                    SAC0028
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Additional Observations Regarding Bottle Shapes:




                                       Bottle Overlay @ 50% Opacity
Conclusions:

Brown Forman is the owner of both of the following Brands: Jack Daniel’s and Early Times Whiskeys. It appears
that Brown Forman has adopted the use of its Jack Daniel’s square bottle shape, use of fluting & faceting on the
neck to help consumers identify Early Times as a whiskey. This does not make Early Times unique, or Jack Daniel’s.

** All Images were acquired from the internet and had to be scaled based on pixil and Image size. These are
general images for comparison purposes only . Perfect representations do not change the facts stated above.


29 | P a g e




                                                                                                                     SAC0029
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                                     History Lesson
          115 Years of Competitors using the Same Bottle Shape & Bottle Trade Dress

                             The history of the Square Bottle with

      Observations that Show Competitors Used the Same Jack Daniels Bottle Trade Dress




30 | P a g e




                                                                                           SAC0030
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Historical Observations:




http://www.sha.org/bottle/igco_1906.htm

Observations:

The above is page 126 from the 1906 catalog from Illinois Glass Company, and page 152 from the 1926 catalog for
the same bottle. You see on the left and right side the bottle was named “The Alton Square, Flint Brandy” bottle. It
is easy to conclude that… if this bottle was available in the general catalog, then any producer of whiskey could
purchase and adopt this bottle shape to sell and promote their whiskey. (Further down, you will see several
examples of these same bottles with different brands)




31 | P a g e




                                                                                                                       SAC0031
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Historical Observations (continued):
Owens Illinois 1906 catalog teaches us, on page 3, the Introduction Page of the catalog, that bottles displayed in
the catalog are common. The following sentence below is printed, and clearly agrees with the above conclusion.

“Of necessity only bottles of Common use and designs are shown in a catalogue of this kind, all special and
proprietary designs belong to our customers. “




Observations of the Entire Catalog (too large to display in report)

If you look closely and examine the entire Illinois Glass Co. catalog you will see that the catalog is segmented into
bottle types. You can see at the top of page 126, the page is called Liquor Bottles. This catalog teaches that certain
styles of bottles were sold specifically for bottling alcohol. You can also see that they identify the type of alcohol
that would be associated with the shape of the bottle.

The entire catalog is indexed and categorized by bottle function and type. (i.e. prescriptions, pomades, pickles,
liquor etc.) When necessary, each bottle represented on each page is identified with an even more specific
functional purpose and use. (i.e. brandy, whiskey etc.)

This indicates that bottle shapes and sizes had become functionally recognized by the public. Consumers and
manufactures alike recognized the connection between bottle shape and size and more specifically bottles used
for containing distilled spirits, thus, making shape “Functional”.

For bottles that had no specific function, the bottles were simply classified by their shape or size. Another teaching
that function is directly related to the shape of a bottle and its publicly recognized use is what defines that function
and how it is categorized.

Jack Daniel’s early bottles, match the “Alton Square” verifying that the shape of the Jack Daniel’s bottle was is
“Common Use”. See next set of images showing early bottles of Jack Daniel’s.

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                                                                                                                           SAC0032
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Historical Observations (continued):
The below excepts are from the website:




www.sha.org which is the “Society for Historical Archaeology”

Formed in 1967, the Society for Historical Archaeology (SHA) is the largest scholarly group
concerned with the archaeology of the modern world (A.D. 1400-present). The main focus of
the society is the era since the beginning of European exploration. SHA promotes scholarly
research and the dissemination of knowledge concerning historical archaeology. The society is
specifically concerned with the identification, excavation, interpretation, and conservation of
sites and materials on land and underwater. Geographically the society emphasizes the New
World, but also includes European exploration and settlement in Africa, Asia, and Oceania.




                     Tall Square Long-necked Spirits bottles: Another fairly
                     popular form for liquor bottles is as pictured to the left with a moderate
                     height and width square body and a relatively long neck. The body
                     sometimes has a very slight taper in from shoulder to heel and the finishes
                     are dominated by the brandy and straight brandy types. This general shape
                     seems to have originated, or at least become popular, by the 1890s and was
                     most used during the first two decades of the 20th century, i.e., 1900-1920
                     (Wilson & Wilson 1978; Barnett 1987).

                     The Illinois Glass Company, Swindell Brothers, and other glass maker
                     catalogs of the early 1900s called this style the "Boston Square Brandy" and
                     made it in an assortment of sizes from 2 ozs. (sample size) to a quart
                     (Swindell 1902; IGCo. 1906; Alther 1909; Cumberland 1911). Click on
                     illustration to the right. The Agnew Co. (1894) called their version the "Tall
                     Boston Brandy." The necks and/or shoulders can have decorative molded
                     features like swirls and fluting.




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The pictured bottle is a typical, though slightly smaller than
average, example of the style containing a pint (i.e., "8 to the
gallon"). It was made for the Louis Taussig Co.(San Francisco,
CA.) and was likely a generic spirits container for an assortment
of that company's products. This example was blown in a two-
piece cup-bottom mold, has an improved-tooled straight
brandy (more or less) finish, plentiful air venting marks
throughout the bottle, and a slightly pink tint caused by using
manganese dioxide as a glass decolorant. This bottle was likely
manufactured between approximately 1900 to 1906 as it
has 715 / H on the base which is likely the makers mark (the
"H", the "715" is a mold number) for the Holt Glass
Company (Berkeley, CA.) that was destroyed by the April 1906
San Francisco earthquake and not rebuilt (Toulouse 1971;
Thomas 1998). Click on the following links to view more
pictures of this bottle: base view;close-up of shoulder, neck, and
finish.




Dating summary/notes: As noted, this style seems to have originated just before the turn
of the century (19th to 20th that is) and was most popular towards the end of the mouth-blown
manufacturing era just prior to National Prohibition, i.e., 1900 to 1920, though these can date
as early as the 1890s (Agnew Co. 1894).

The style was largely used for and identified with spirits but has been noted with embossing or
labels for medicinal products, e.g., VIN-O-SULA CUBAN TONIC / THE GREAT DYSPEPSIA /
AND KIDNEY REMEDY. This bottle is identically shaped to the one pictured, though in the "5
to the gallon" (fifth) size. It is also mouth-blown, likely dates between 1905 and 1915 (based on
shape, improved-tooled finish, multiple air venting marks, and cup-bottom mold production),
and probably contained a high alcohol product as consumers of the time would have identified
this shape with spirits (Lindsey 2005). It should also be noted that very similar to identically
shaped bottles were used for olive oil, salad dressing, vinegar and likely other liquid food
products during the first few decades of the 20th century (Zumwalt 1980).

The style was also apparently used for wine as indicated by the dark amber bottle pictured at
the following links: entire bottle; base view. This bottle is clearly machine-made and
embossed with URBANA WINE CO. INC. and a city in New York which can not be read.
(Apologies for the poor images which were off of eBay®.) The base is embossed with the
makers mark of an "H" in a triangle indicating manufacture by J. T. & A.
Hamilton (Pittsburgh, PA.) who were in business from 1884 to 1943 (Toulouse 1971).
However, this bottle most likely dates from around 1915 to 1919 (Prohibition) though could
also be a "medicinal" product that was produced during Prohibition, i.e., the 1920s.



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Teachings from the “Society for Historical Archaeology”
                                                                                                 th      th
    1.   The tall square long neck spirits bottles originated before the turn of the century. “(19 to 20 that is)”. It
         was most “popular” towards the era just prior to National Prohibition. Giving this bottle and shape over
         115 years of American history.

    2.   The necks and/or shoulders can have decorative molded features like swirls and fluting.

    3.   The tall square long neck spirits bottles was “fairly popular form for liquor bottles.” This quotation does
         NOT say that this bottle type was popular and unique and exclusively used by the Jack Daniel’s brand
         whiskey.

    4.   “The style was largely used for and identified with spirits”. This sentence teaches that the identified
         function of the bottle was spirits, and this association would only occur as a result of it being “largely
         used” use in the public domain for spirits and liquor.

    5.   The article points to the fact that multiple glass factories produced this style and they reference 2 known
         producers, and point out that there were others. “The Illinois Glass Company, Swindell Brothers, and other
         glass maker catalogs of the early 1900s” .

    6.   When you observe that multiple manufactures are making identical or nearly identical bottles with slight
         ornamental shifts. it is easy to understand that,

               a. This bottle was a popular enough bottle that multiple manufacturers wanted the opportunity to
                  profit from its manufacture,
               b. There were enough customers buying the bottle to be able to support multiple manufactures.
               c. There were enough wholesale customers wanting and willing to buy the bottle to drive the
                  manufactures to produce the bottle, showing that this was not exclusive to one customer.
               d. The bottle was used in enough abundance that manufactures called to it and labeled its
                  “function” as “spirits” and “liquor” across the industry and as a standard name, classification and
                  function by each factory.

    7.   The style of bottle was apparently used for wine

    8.   The most important quote in this entire article is :
         “…as consumers of the time would have identified the shape with spirits (Lindsey 2005)”




In the next pages we will review a small sampling of bottle pictures that substantiate the
findings of the “Society for Historical Archaeology”.




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     Historical Observations (continued):




Craddock’s Whiskey                                                  Jack Daniels Whiskey




     Observations:

     On the left you will see a historical bottle that was manufactured for Craddock and Co. Dallas Texas for the
     production of whiskey. This bottle was for sale on ebay and On the right you will see three examples of historical
     Jack Daniel’s bottles.

     It is a known fact that Jack Daniel’s purchased its bottles from the Owens Illinois Glass company. So the existence
     of the above Craddock’s Sour Mash Whiskey bottle suggests one of 2 conclusions. Conclusion 1 is that the design
     of Alton bottle was sold to anyone as indicated by the placement in the catalog. Or the bottle was so popular and
     common that is was manufactured by other glass bottle manufacturers. Either conclusion shows that this was an
     accepted and recognized shape for American whiskey/bourbon as early as 1906.




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                                                                                                                           SAC0036
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  Historical Observations (continued):

Gilt Edge Whiskey                                                                      1895 Jack Daniel’s




  Observations:

  On the top row, you can see examples of historical bottles that are (1)square shaped that (2)contain a fluted or
  faceted neck (3)with embossed writing. Jack Daniel’s 1895 Replica bottle is seen to the far right. Note: In the very
  beginning before the application of paper labels, bottles were embossed with letters to identify the brand. It is
  apparent that Jack Daniel’s uses embossed letters now as a reference to the history of bottle making and whiskey.

  On the bottom row, you can see examples of historical bottles that are (1)square shaped that (2) contain a fluted
  or faceted necks. The fact that each of these brands throughout history chose to use a square bottle with a faceted
  or fluted neck indicates that this bottle feature combination had a functional purpose: to help people recognize
  that these bottles contained whiskey/bourbon.




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                                                                                                                         SAC0037
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Historical Observations (continued):
Press Release: May 16, 2011 /PRNewswire/
Reposted : http://www.drinkhacker.com/2011/05/16/jack-daniels-changes-its-label-and-bottle/



LYNCHBURG, Tenn., May 16, 2011 /PRNewswire/ — The Jack Daniel Distillery announced today that it is making minor
refinements to the familiar Jack Daniel’s Old No. 7 bottle to accentuate the bottle’s square shoulders and also to simplify the front
and side labels.

The company is quick to note that even though the bottle and label have been refined, the whiskey inside remains unchanged. The
bottle will begin shipping this month and will be on most shelves by July.

“Mr. Jack Daniel was proud of the craftsmanship and care that went into his whiskey and wanted a bottle as unique as its smooth,
mellow character,” said John Hayes, Senior Vice President, Managing Director Jack Daniel’s. “That’s why in 1895, Jack
made the decision to put his whiskey in a square bottle, unlike other whiskeys of his day. He wanted to make sure
his whiskey stood out. The refinements today are meant to honor Mr. Jack’s desire that his bottle reflect the distinctive character
of the whiskey.”

This is not the first time the Jack Daniel’s bottle and label have been updated. The first refinements go back to Jack Daniel who
originally sold his whiskey by the barrel. He then moved from barrel to jug to the familiar square bottle. Over the years, during
Mr. Jack’s day and after, refinements were made to the bottle and label: Gold medals were added to the side label as they were
won; Lynchburg sayings were added and dropped; and, room was made for more information. Over time, so many things were
added that the label began to look more cluttered than it was under Mr. Jack’s watch, according to the distillery.




Observations:
It appears that “John Hayes, Senior Vice President, Managing Director Jack Daniel’s “ Is not aware that
history shows that, in his day, “Jack Daniel’s “ along with others were not only using square bottles but were also
using the exact same bottle that was square with fluting or faceting and an embossed logo. This demonstrates that
Jack Daniel’s management might have some misinformation as to the Jack Daniel’s history and the history of their
bottle.


Same Blog: General Public Comment




Observations:
It appears that the general public agrees with our findings…. that “ Every Generic Bourbon on the shelf uses a
Bottle and label similar to the Jack Daniel’s one” ~Trampus -2011


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                                                                                                                                        SAC0038
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                  Answer to Interrogatory No. 19




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                                                                            SAC0039
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INTERROGATORY NO. 19: “As a matter of law, the combination of elements of the
Jack Daniel’s Trade Dress is non-distinctive and not entitled to trademark protection,”

Conclusions “As a Matter of Law”:
Jack Daniel’s bottle features are clearly functional and non distinctive. The large-scale use of a square bottle design
with fluted or faceted neck indicates that this style of bottle is what consumers use to recognize American whiskey
and bourbon, not Just the Jack Daniel’s brand. Jack Daniel’s bottle shape design is a slight ornamental shift in a
recognized bottle design, used by the majority of brand houses to sell whiskey and bourbon over the last 100
years. Adding an embossment of the words “Jack Daniel’s” cannot afford Jack Daniel’s the protection and exclusive
use of the other combined elements of the bottle shape.

Denying others the right to use these elements would put others at a considerable disadvantage because, they
would be forced to put their alcohol in a bottle that is not the standard publicly recognized bottle shape identified
by consumers. Allowing the trademark of square bottle, with fluted or faceted neck and an embossed label, would
put Beam Suntory, one of Brown Forman’s comparable market competitors, at a significant disadvantage.

Brown Forman reinforces our argument that their bottle is functional based on the fact that they use the Jack
Daniel’s bottle square shape and fluted and faced neck almost identically in style size and shape to promote their
other brand of Early Times Kentucky Whiskey. If you were a company actively protecting the alleged “unique”
trade dress of your bottle design, because it was so unmistakable, unique, and identifiable, why would you use an
almost identical design to promote another whiskey brand that you manufacture, and market at a lower price
structure?

This paralleled use of bottle features clearly indicates that Brown Forman uses the square shape and faceted or
fluted neck as functional indicators to direct consumers to whiskey and bourbon. If this were not the case, then
maybe they would have chosen a different more distinctive bottle to separate the Early Times brand whiskey from
the Jack Daniel’s brand whiskey. They did not take that path.

The deliberate decision to make the common association between two brands by the same owner clearly shows
that the shape of the bottle is functional and their trademark Jack Daniel’s signature is the only protectable part of
their bottle design in the Trademark reg no. 4,106,178 .

Simply applying the name Jack Daniel’s does not give them the right to have umbrella like protection to the shape
of everything they put their name on.

In looking at the historical information provided, it is clear that Jack Daniel’s at some point adopted a “Liquor
Bottle” style of container commonly available to any person purchasing glass from Owens Illinois. The selection of
a “Liquor Bottle” from the “Liquor Bottle” section of the catalog clearly indicates that Jack Daniel’s expected to
gain an advantage because his product would be marketed in a container that was recognized for containing
alcoholic beverages. Jack Daniel’s could have just as easily chosen a container from the pickle jar section to bottle
his goods. Jack Daniel’s must have known that the container type he selected has functional because the shape
would clearly convey to the consumer in 1 glance that the contents were a sprit or alcohol. He did not choose a
pickle jar because he would have had an additional hurdle to overcome….consumers would be confused by the
bottle shape. The continued sales of whiskey and bourbon over the past 100 years has created this functional
recognition and trained generations of consumers that this shape of bottle is identified and categorized with


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whiskey and bourbon. This is reflected in the results of our study which shows the widest use to be square with a
faceted or fluted neck. Whisky and bourbon have adopted the bottle style of the square liquor bottle with the
                                                                                         st
faceted or fluted necks because it is a functional part of history that is identifiable 1 with alcohol, as defined as
                                                                         nd
the functional use in the Owens Illinois Co catalog teaches, and then 2 with the spirit type of whiskey / bourbon,
as we are also taught by same catalog, that there is a functional association with every bottle type.

These facts lead us to the undeniable conclusion that the Jack Daniel’s Trademark Bottle Registration should “Not”
be entitled to trademark protection because it is functional and non distinctive , and by allowing its continued
registration it is putting competitors at a disadvantage.



**Special Note: You must consider that their trademark is for “Distilled Spirits” and “Distilled Spirits” would also
include scotch, gin, tequila, rum, cognacs and more.




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                                                                                                                        SAC0041
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                         Bottle & Label Trade Dress Analysis
               A Statistical Evaluation of Data Collected from Reviewing 114 Bottles

                                 From 7 Brand Houses and Others
                               (See spreadsheet for individual detail and bottle data)




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                                                                                                           SAC0042
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Background
Alleged Bottle Trade Dress

 Jack Daniel’s Properties, Inc. (“JDPI”), owned by Brown Forman Inc, the owners of the Jack Daniel’s portfolio,
claims that it owns trademark rights in the Jack Daniel’s Old No. 7 whiskey bottle “iconic trade dress consisting of”
the following elements, namely: (1) “a square bottle with a ribbed neck,” (2) “a black cap,” (3) “a black neck wrap
closure with white printing bearing the OLD NO. 7 mark,” and (4) “a black front label with white printing and a
filigreed border bearing the JACK DANIEL’S mark depicted in arched lettering at the top of the label, the OLD NO. 7
mark contained with a filigreed oval design in the middle portion of the label beneath the
JACK DANIEL’S mark and the words Tennessee Sour Mash Whiskey in the lower portion of
the label, with the word ‘Tennessee’ depicted in script” (see Amended Complaint, para. 14,
and Amended Answer, para. 14).

The alleged Jack Daniel’s bottle trade dress has four elemental features:

(1) “a square bottle with a ribbed neck,”

(2) “a black cap,”

(3) “a black neck wrap closure with white printing” and

(4) “a black front label with white printing” (see Amended Complaint, para. 25).




Statistical Objectives
VIP reviewed 114 bottles used by American whiskey/bourbon brands to determine
whether the combined four elemental features of the alleged Jack Daniel’s bottle trade
dress are:

    1.   Basic design features common in the industry for distilled spirits, particularly bourbon and other American
         whiskey; features that, if allowed to be used exclusively by Jack Daniel’s, would significantly undermine a
         competitor’s ability to compete with Jack Daniel’s in the sale of distilled spirits;
    2.   Design elements that are merely ornamental or decorative and do not function as features signifying
         products from the Jack Daniel’s;
    3.   A combination of features that is generic for distilled spirits in general or American whiskey in particular
         because their primary significance is to identify any distilled spirits, particularly bourbon or other
         American whiskey, rather than products from Jack Daniel’s;
    4.   A mere refinement of or variation on existing bottle design or bottle trade dress with the field of distilled
         spirits and whiskey in particular.

The following pages reveal the results of that review and an analysis of those results and the conclusions drawn
from that analysis.




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Summary of Results '


Identification of the 4 primary features of the Jack Daniel’s alleged bottle trade dress:

(1) a square bottle with a ribbed neck; (Fluted of Faceted)

(2) a black cap;

(3) a black neck wrap closure

(4) a black front label with white printing




Bottles Collected and Reviews By Brand House:

         BRAND HOUSE                      Number Of              Reported 2013 Revenue      Percentage
                                          Bottles                (As Reported to the SEC)   Bottles / Total
                                          Reviewed
1      Alltech                            3                      Private                                3%
2      Beam Suntory                       25                     3,148,400,000.00                      22%
3      Brown Forman                       13                     3,784,000,000.00                      11%
4      Heaven Hill                        19                     Private                               17%
5      KBD (Kentucky Bourbon Distillers)  12                     Private                               11%
6      Luxco                              8                      Private                                7%
7      Sazerac Brands                     21                     Private                               18%
8      Others                             13                     Unknown                               11%
                                    TOTAL 114                                                         100%
          As Reported to the SEC
   ADVERTISING Budget Beam Suntory 2013                          401,000,000
  ADVERTISING Budget Brown Forman 2013                           408,000,000




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                                                                                                         SAC0044
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Statistical Results Based on Use of Features INDEPENTANTLY of the Other Features:

        BRAND HOUSE    Number Of             Square Ribbed         Black      Black     Black   White
                       Bottles               Bottle Neck           Cap        Neck      Back    Text
                       Reviewed                                               Wrap      Ground
1       Alltech        3                     1               0            1        0          0       0
2       Beam Suntory   25                    18             12          13        11          9      13
3       Brown Forman 13                      12              9            9        7          5       7
4       Heaven Hill    19                    7               8          10         9          7       9
5       KBD            12                    2               3          11         9          2       3
6       Luxco          8                     4               4            4        3          4       5
7       Sazerac Brands 21                    7               7          11        10          7       9
8       Others         13                    5               8            9        8          9       8
                 TOTAL 114                   56             51         68         57         43      54
                                             49%           45%         50%       50%       38%     47%


Observations:
The most important observation to make here is that we are looking at these elements as a feature “Independent”
of any other element. The purpose is to understand how common the element is on its own.

It has been made clear by the courts that you cannot consider the use of individual elements on their own and you
must look at the combination of the elements as a group in their entirety.

These numbers reflect that each of these elements is a common element and is used frequently. Therefore, to
appeal to the court’s request, we must look at the numbers as the most common elements are added together.

Statistical Results Based on the Combinations of Features
The next step of this report will display the statistics of the following combinations. We will do this in order of the
identifiable bottle trade dress as defined by Jack Daniel’s.

1st Combination: Square Bottle with Fluted or Faceted Neck
         (1) a square bottle with a ribbed neck; (Fluted of Faceted)

2nd Combination:
         (1) a square bottle with a ribbed neck; (Fluted of Faceted)
         (2) a black cap;

3rd Combination:
         (1) a square bottle with a ribbed neck; (Fluted of Faceted)
         (2) a black cap;
         (3) a black neck wrap closure

4th Combination:
         (1) a square bottle with a ribbed neck; (Fluted of Faceted)
         (2) a black cap;
         (3) a black neck wrap closure
         (4) a black front label with white printing



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1st Combination: Square Bottle with Fluted or Faceted Neck
        (1) a square bottle with a ribbed neck; (Fluted of Faceted)


        BRAND HOUSE                         Number Of           Comment                               Percentage
                                            Bottles                                                   Bottles / Total
1       Alltech                             0                                                                      0%
2       Beam Suntory                        12                                                                    29%
3       Brown Forman                        9                                                                     21%
4       Heaven Hill                         8                                                                     19%
5       KBD (Kentucky Bourbon Distillers) 2                                                                        5%
6       Luxco                               4                                                                     10%
7       Sazerac Brands                      4                                                                     10%
8       Others                              3                                                                      7%
                                   TOTAL 42                                                                      100%
This value Represents 36% of the 114 Bottles Reviewed


Observations:
This is the combination of the first 2 elements in our study. These represent the feature (1) a square bottle with a
ribbed neck; (Fluted of Faceted). We are showing the “Independent” value to show that on their own, or
together, they still represent a large segment of the market. But ,as stated before, you must consider the elements
together with other elements.




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2nd Combination:
        (1) a square bottle with a ribbed neck; (Fluted of Faceted)
        (2) a black cap;


        BRAND HOUSE                         Number Of Comment                                   Percentage
                                            Bottles                                             Bottles / Total
1       Alltech                             0                                                                0%
2       Beam Suntory                        5                                                               29%
3       Brown Forman                        7                                                               21%
4       Heaven Hill                         3                                                               19%
5       KBD (Kentucky Bourbon Distillers) 2                                                                  5%
6       Luxco                               2                                                               10%
7       Sazerac Brands                      1                                                               10%
8       Others                              2                                                                7%
                                   TOTAL 22                                                                100%
This value Represents 19.3% of the 114 Bottles Reviewed


Observations:
With the addition of element (2) black cap, the frequency has dropped 48% to 21 bottles

All but 1 competitor maintains bottles that carry these 2 elements.




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                                                                                                            SAC0047
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3rd Combination:
        (1) a square bottle with a ribbed neck; (Fluted of Faceted)
        (2) a black cap;
        (3) a black neck wrap closure


        BRAND HOUSE                         Number Of Comment                                         Percentage
                                            Bottles                                                   Bottles / Total
1       Alltech                             0                                                                      0%
2       Beam Suntory                        5                                                                     29%
3       Brown Forman                        5                                                                     21%
4       Heaven Hill                         3                                                                     19%
5       KBD (Kentucky Bourbon Distillers) 2                                                                        5%
6       Luxco                               2                                                                     10%
7       Sazerac Brands                      1                                                                     10%
8       Others                              2                                                                      7%
                                   TOTAL 20                                                                      100%
This value Represents 17.5% of the 114 Bottles Reviewed


Observations:
The addition of element (3) a black neck wrap, has only changed the results by 2 unit. It would appear that it is a
common practice to use a black cap combined with a black neck wrap together.

All but 1 competitor maintains bottles that carry these 2 elements.




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4th Combination, The Combination of all elements in Jack Daniel’s Alleged Bottle Trade Dress
         (1) a square bottle with a ribbed neck; (Fluted of Faceted)
         (2) a black cap;
         (3) a black neck wrap closure
         (4) a black front label with white printing


        BRAND HOUSE                         Number Of Comment                                          Percentage
                                            Bottles                                                    Bottles / Total
1       Alltech                             0                                                                       0%
2       Beam Suntory                        3                                                                    21.5%
3       Brown Forman                        3                                                                    21.5%
4       Heaven Hill                         3                                                                    21.5%
5       KBD (Kentucky Bourbon Distillers) 1                                                                       7.1%
6       Luxco                               1                                                                     7.1%
7       Sazerac Brands                      1                                                                     7.1%
8       Others                              2                                                                    14.2%
                                   TOTAL 14                                                                       100%
This value Represents 12.3% of the 114 Bottles Reviewed
** See Image Below of all 14 Bottles Side by Side

Observations:
This is the combination of all 4 elements. It is important to notice that ALL but 1 competitor have at least 1 bottle
using these four combined elements.

“By alleging that other companies use a similar design and by providing examples of similar-looking bottles, VIP has
plausibly alleged that Jack Daniel’s bottle design lacks secondary meaning”

NOTE: Brown Forman’s 2 bottles brands are Jack Daniel’s, and Early Times. Two separate brands using the identical
4 distinct features, concedes that these features are indicators of whiskey/bourbon and are not unique to Jack
Daniel’s.




Margin of Error:
One could argue that 2 of these bottles have coloration and that the 2 bottles should not be included. For example
Jim Beam Fire has a Fire Element added, or that Early Times has a yellow shaded area. It must be noted that even if
you were to remove these two bottles from the sample set you have not eliminated the fact that All but one
competitor have a brand that they use this bottle trade dress, And by adding bottles to this sample set would only
increase the argument that these four elements are common to any company wanting to portray their bottle as
containing Whiskey or Bourbon.




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                                                                                                                        SAC0049
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4th Combination, The Combination of all elements in Jack Daniel’s Alleged Bottle Trade Dress
        (1) a square bottle with a ribbed neck; (Fluted of Faceted)
        (2) a black cap;
        (3) a black neck wrap closure
        (4) a black front label with white printing




50 | P a g e




                                                                                                        SAC0050
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Conclusions:
Jack Daniel’s Bottle features are clearly functional and non distinctive:

The jack Daniel’s Bottle is a mere refinement of or variation of the 4 alleged bottle trade dress elements.

“The combination of elements of the Jack Daniel’s Trade Dress is generic because their
primary significance is to identify any distilled spirits, particularly bourbon or other corn
based whiskey, rather than products from the Jack Daniel’s distillery”
The facts in this study clearly identify that each Brand House that competes with Jack Daniel’s has at least 1 brand
for which they uses the four elements alleged by Jack Daniel’s to be the trade dress of their bottle. The broad use
of these elements shown here indicates that these elements combined have a functional meaning to indicate that
the contents are Whiskey or Bourbon. It’s no surprise that each of these brands is utilizing the historical classic
look that was at the origins of whiskey. The look is a classical look that was used by many and to date is still used
by many.



The law should not limit the use of these elements exclusively to Jack Daniel’s as doing so would prevent the
continued sales of 12 other bottles. Additionally, it would require that Brown Forman discontinue its use of these
elements on its own Early Times brand whiskey bottle. Brown Forman cannot claim to the court that these
elements that create their alleged bottle trade dress are exclusive to Jack Daniel’s brand but then continue to use
them to promote another brand AND prevent other from using them at the same time.

The large scale use of a square bottle design with fluted or faceted neck, indicates that this style of bottle is what
consumers use to recognize Whiskey and Bourbon not Just the Jack Daniel’s Brand. Jack Daniel’s bottle shape as
design is a slight ornamental shift in a recognized bottle design used by the majority of Brand Houses to sell
whiskey and bourbon over the Last 100 years.

Thus, the bottle design used by Jack Daniel’s “serve[s] an aesthetic purpose wholly independent of any source-
identifying function.”

You can’t just look at present day market conditions…. you have to look at 100 years of history…. .

The point being that, even, if everyone stopped using these elements and style, that fact alone does not give rise
to allow Jack Daniel’s the right to scoop up all the elements of 100 years of history and claim it to be exclusively
their own.




51 | P a g e




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                Ornamental Features Of the Jack Daniel’s Bottle
               A Statistical Evaluation of Data Collected from Reviewing 114 Bottles

                                 From 7 Brand Houses and Others
                               (See spreadsheet for individual detail and bottle data)




52 | P a g e




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Summary Results: The Ornamental Features of the Jack Daniel’s Bottle

Percent Usage on all 114 bottles Reviewed
Square      Bulb          Fluting       Black Cap                  Black Neck         Black Back         White Text
Shape       Neck          Faceting      Color                      Color              Color              Color

49%                   50%               45%            60%              50%                   38%            47%
Filigree           Arched         Brand            Display         Center             The Word           Embossed
                   Name           Location         State           Medallion          Old                Letters
                                                                   Or Graphic

49%                   50%               45%            60%              50%                   38%            15%



Observations:

Based on the fact that each of these elements have from 38% - 60% usage in the 114 bottles reviewed, it would be
an easy assessment to say that all of the above Features are ornamental and functional for selling spirits.

 There is no one unique feature found in the Jack Daniel’s list of features above that would raise an indicator that
it was unique to Jack Daniel’s.

The only unique feature that would be exclusive to the Jack Daniel’s Brand and Bottle would be the Trademarked
name “ Jack Daniel’s” and the exact word combination “Old No. 7”

Further down we will address “Old No. 7” and the fact that Jack Daniel’s does not have exclusive use of the words
“Old No.” with any other number combination, or the exclusive use of the number “7”.



Statistical Results Based on Jack Daniel’s use of alternative colored labels

The next step of this report will display visuals of bottles from the 114 bottles reviewed. The images will be
grouped buy colors used by Jack Daniel’s. The purpose of showing these images is to show that even when Jack
Daniel’s changes the color of the label, all competitors have identical elements and overall look. Then this report
will address the use of filigree , embossing, the use of the number 7, the and the use of the words “old no.”

See the Next 7 Pages will that verify the replicated use of the above features in our study

           Page 1 : Black Lables
           Page 2 : White Labels
           Page 3 : Color / Flavor Labels
           Page 4 : Filigree
           Page 5 : Embossing
           Page 6 : The Number 7
           Page 7 : The words “old no.”


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                                                                                                                       SAC0053
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55 | P a g e




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56 | P a g e




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Filigree:
We found that 49% of the bottles surveyed have some degree of filigree on the label. Here are some examples.




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                                                                                                               SAC0057
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Embossed Bottles:




Above and beyond the bottles that we have reviewed already, embossing is used in almost all
segments of the spirit industry. Therefore, it is NOT the” embossing” of the words “Jack
Daniel’s” that is a trademark feature. It is simply the stand alone words “Jack Daniel’s”.




58 | P a g e




                                                                                              SAC0058
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Use Of Number 7:




One could argue there is a large percentage of bottles that use the number 7 on their bottle on
the center, Such as Seagram’s 7, Old Ezra number 7.




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                                                                                                  SAC0059
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Use Of the words “Old No.”:




Jack Daniel’s does not have the exclusive use of the partial phrase “Old No.“ because you can
find this exact phrase on other bottles such as Bench Mark & George Dickel “Old No”. 8.




60 | P a g e




                                                                                                SAC0060
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Generic Public Perception of Whiskey Bottle:
The below Images are GENERIC images that are on the website shutter stock. This is a website that sells generic
stock photos for use in other works of art for advertising and websites. You can draw your own conclusion as to
what the Generic Look of whiskey is to the public eye.




61 | P a g e




                                                                                                                  SAC0061
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Generic Public Perception of Whiskey Labeling & Advertising:




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                                                                                SAC0062
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Final Conclusion:
The primary features of the Jack Daniel’s
bottle design and the alleged Jack
Daniel’s bottle trade dress are basic
design features common in industry for
distilled spirits, particularly whiskey.
Those combined primary features, if
allowed to be used exclusively by JD,
would significantly undermine a
competitor’s ability to compete with
Jack Daniel’s in the sale of distilled
spirits.

The combined four primary features of the alleged Jack Daniel’s bottle trade dress and the combined three
primary features of the Jack Daniel’s bottle design are, overall, merely ornamental or decorative features that do
not function as features signifying products from the Jack Daniel’s distillery alone.

The combination of the three primary features of the Jack Daniel’s bottle design is generic, overall, because the
primary features’ significance is to identify any distilled spirits particularly bourbon or other American whiskey,
rather than products from Jack Daniel’s distillery in particular. Take off the words “Jack Daniel’s” and “Old No. 7”
from the complete Jack Daniel’s bottle design and all you have left is an ornamental variation of a generic bottle
shape and styling that is comprised overall of nothing more than features found in the generic bottle designs and
trade dress of the whiskey/bourbon Industry as a whole.



The combination of the four primary
features of the alleged Jack Daniel’s trade
dress is generic for distilled spirits in
general or American whiskey in particular
because their primary significance is to
identify any distilled spirits, particularly
bourbon or other American whiskey,
rather than products from Jack Daniel’s;
and a mere refinement of or variation on
existing bottle design or trade dress with
the field of distilled spirits and whiskey in
particular.



The point is very simply: other than the word combination “Jack Daniel’s” and the exact combination “Old No. 7,”
the overall primary features are not unique and exclusive to Jack Daniel’s. Many other competitors in the industry
clearly use EVERY ONE of the same primary features of bottle design alleged trade dress to some degree and some
use ALL of the primary features, making it obvious that the Bottle Design and the alleged Bottle Trade Dress belong
to every competitor in the whiskey/bourbon industry.


63 | P a g e




                                                                                                                       SAC0063
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                                 The 2 Hour Test
How Many Products Can I find for sale online with elements of the Alleged “Jack Daniels” Trade Dress?
                                                  st
                                           July 1 2015

                                                 By

                                          Stephen Sacra




                                                                                                        SAC0070
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Purpose:

The purpose of the of the 1 hour test, was a challenge to see how many items I could find in a 2 hour time period that
contained elements of the alleged “Jack Daniel’s” trade dress incorporated in them for sale and available to buy on the
internet. After finding the items, I would then document the websites, the screen capture to show these items were
available for purchase and a close up of each product.

Goal:

The goal of this project was to show that in a limited amount of searching, on a limited amount of sites I could quickly and
easily find examples of products using the same elements of trade dress alleged by Jack Daniel’s to be exclusive to Jack
Daniel’s.

Learning Discoveries:

The most interesting discovery was that I could find products faster than I could document them. I also learned that, if I
was going to have Tabs open to hold each page marker, I would have to open multiple windows as the browser could not
maintain that many tabs at one time.

Too many results! I found so many results so fast that I had to stop my search before I was done. After I realized I had
over 100+, I just stopped looking. I stopped looking because I knew that documenting my findings would take forever and
I figured that 100+ would drive the point home that the internet as a reflection of the shopping market and the Internet
have a vast sea of examples using the same trade dress alleged to be exclusive to Jack Daniel’s.

Results:
Below you will see 114 Results that I found in only looking at 9 websites. Each of the results incorporates elements of
the alleged Jack Daniel’s Trade Dress, such as filigree, a cartouche, words “ the old”, white lettering on black., arched
lettering, or a reference to whiskey.

                                        Website                                     Count
                               1        amazon.com                                     51
                               2        ebay.com                                       31
                               3        Etsy.com                                        8
                               4        redbubble.com                                   9
                               5        skreened.com                                    7
                               6        teepublic.com                                   5
                               7        visionsprinting.com                             1
                               8        zazzle.com                                      1
                               9        teesforall.com                                  1
                                        TOTAL                                         114



                              Contain The Word                                          %
                              Whiskey                                         73      64%

                              Reference                                   Count         %
                              Whiskey In General                             55       48%
                              Music                                          13       11%
                              Movie TV Show                                   9        8%
                              General Funny Statement                         7        6%
                              State/City                                      8        7%
                              Culture /Redneck                                4        4%
                              Speed Shop                                      4        4%
                              Moonshine                                       2        2%
                              Alcohol Not JD                                  1        1%
                              Other                                          11       10%
                                                              Total         114




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160&keywords=whiskey+shirt


37-Tattos and Whiskey
http://www.amazon.com/Womens-Pinky-Star-Tattoos-Whiskey/dp/B00OPAY38G/ref=sr_1_177?s=apparel&ie=UTF8&qid=1435779884&sr=1-
177&keywords=whiskey+shirt

38-tattos bad boys and whiskey




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http://www.amazon.com/Fifty5-Clothing-Tattoos-Whiskey-Vintage/dp/B00YTTB6GK/ref=sr_1_323?s=apparel&ie=UTF8&qid=1435779970&sr=1-
323&keywords=whiskey+shirt

39-Beautiful Disaster
http://www.amazon.com/Womens-Beautiful-Disaster-Proof-Tank/dp/B00L6N7M9W/ref=sr_1_304?s=apparel&ie=UTF8&qid=1435779970&sr=1-
304&keywords=whiskey+shirt


(40) Tonight is Bottoms Up
http://www.amazon.com/Tonight-Bottoms-Juniors-Country-
Racerback/dp/B00VF2Q7FO/ref=pd_sim_sbs_193_4?ie=UTF8&refRID=1A7WH6XBRGHGVY0YKGDC


41-Shes My Little Whiskey Girl1
http://www.amazon.com/Glit-Z-Whiskey-Country-Western-Racerback/dp/B00UU99JXA/ref=sr_1_65?s=apparel&ie=UTF8&qid=1435779795&sr=1-
65&keywords=whiskey+shirt

42-Shes My Little Whiskey Girl2
http://www.amazon.com/Raxo-Womens-Little-Whiskey-Drinking/dp/B00ZIIZ14O/ref=sr_1_37?s=apparel&ie=UTF8&qid=1435779743&sr=1-
37&keywords=whiskey+shirt

43-Beards And Whiskey
http://www.amazon.com/Womens-Pinky-Star-Whiskey-T-Shirt/dp/B00SU65IHG/ref=sr_1_30?s=apparel&ie=UTF8&qid=1435779743&sr=1-
30&keywords=whiskey+shirt

44-Whiskey # 1 Makes Me Friskey
http://www.amazon.com/Womens-Pinky-Star-Whiskey-Racerback/dp/B00STZ9MYS/ref=sr_1_20?s=apparel&ie=UTF8&qid=1435779743&sr=1-
20&keywords=whiskey+shirt

45-WodsNWhiskey
http://www.amazon.com/SoRocks-Womens-Whiskey-Burnout-XXLarge/dp/B00KXGG5AK/ref=sr_1_64?s=apparel&ie=UTF8&qid=1435779795&sr=1-
64&keywords=whiskey+shirt

46-Drink Whiskey And Raise Hell
http://www.amazon.com/Athletic-Country-Southern-Whiskey-Shirts/dp/B010C3KRQQ/ref=sr_1_75?s=apparel&ie=UTF8&qid=1435779795&sr=1-
75&keywords=whiskey+shirt

47-Drink Whiskey And Raise Hell2
http://www.amazon.com/Drink-Whiskey-Raise-Juniors-Country/dp/B00V93PRYG/ref=sr_1_12?s=apparel&ie=UTF8&qid=1435779743&sr=1-
12&keywords=whiskey+shirt

48-Whiskey Soup
http://www.amazon.com/Whiskey-Soup-Shirt-Mens-black/dp/B00EA95PZ2/ref=sr_1_121?s=apparel&ie=UTF8&qid=1435779849&sr=1-
121&keywords=whiskey+shirt

49-Roosters Whiskey
http://www.amazon.com/True-Whiskey-Label-Sleeve-T-Shirt/dp/B00NT6YMOM/ref=sr_1_1434?s=apparel&ie=UTF8&qid=1435783360&sr=1-
1434&keywords=whiskey+shirt&pebp=1435783377087&perid=0WRQZE6XD1NCDBGHAB0P

(50) California Republic
http://www.ebay.com/itm/New-CALIFORNIA-REPUBLIC-WHISKEY-CREWNECK-SWEATSHIRT-Pullover-Sweater-Cali-
/291485075269?pt=LH_DefaultDomain_0&var=&hash=item43dddd4745

51-Midnight Runners Moonshine
http://www.amazon.com/Moonshine-Midnight-Runners-T-shirt-Medium/dp/B00EVBXMEK/ref=sr_1_907?s=apparel&ie=UTF8&qid=1435783168&sr=1-
907&keywords=whiskey+shirt


52-Vintage
http://www.ebay.com/itm/30th-BIRTHDAY-WHISKEY-Black-T-Shirt-Vintage-1985-30-year-old-GREAT-GIFT-IDEA-
/251534242926?pt=LH_DefaultDomain_0&var=&hash=item3a909bf46e

53-Jon Snow
http://www.ebay.co.uk/itm/INSPIRED-BY-GAME-OF-THRONES-T-SHIRT-JON-SNOW-WHISKY-LABEL-NIGHTS-WATCH-
/201110943583?pt=LH_DefaultDomain_3&var=&hash=item2ed325775f

54-Shes Whiskey In a Tea Cup
https://www.etsy.com/listing/228278256/shes-whiskey-in-a-tea-cup-womens-tee-2?ref=related-1
55-Cant Buy Happiness
http://www.visionsprinting.com/shop/you-cant-buy-happiness-but-you-can-buy-whiskey/

56-Ouiji
https://www.teepublic.com/t-shirt/136269-spirit-board


57-Death Note




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https://www.teepublic.com/t-shirt/130134-death-note-jack-daniels-parody

58-BilboBOurbon
https://www.teepublic.com/t-shirt/24453-bilbo-bourbon

59-TellerMorrowsWhiskey
https://www.teepublic.com/t-shirt/57888-anarchy-brand-whiskey

(60) Charizard Fire Whiskey
https://www.teepublic.com/t-shirt/206524-charicific-valley-whiskey

61-ShesWhisjeyInATeaCup
https://www.etsy.com/listing/236669904/shes-whiskey-in-a-tea-cup-southern-
style?ga_order=most_relevant&ga_search_type=all&ga_view_type=gallery&ga_search_query=whiskey%20shirt&ref=sr_gallery_27

62-Winchester Hunter Whiskey
http://www.redbubble.com/people/konoko479/works/10354471-winchester-whiskey?p=t-shirt

63-BeebleBrox
http://www.redbubble.com/people/buzatron/works/10106479-pan-galactic-gargle-blaster?grid_pos=5&p=t-shirt

64-WE Whiskey You a Merry Xmas
http://skreened.com/merryxmas/we-whiskey-you-a-merry-christmas-t-shirt

65-Walter Whites
http://www.ebay.com/itm/Heisenberg-Style-T-Shirt-Breaking-Bad-Walter-White-Fun-Walt-Whiskey-Whisky-Logo-/371165959004

66-Kris Kringle
http://skreened.com/merryxmas/kris-kringle-christmas-whiskey-drinking-t-shirt-3532317

67-lol Whiskey
 https://www.etsy.com/listing/237729453/a-lil-whisky-makes-me-frisky-mens-
t?ga_order=most_relevant&ga_search_type=all&ga_view_type=gallery&ga_search_query=whiskey%20shirt&ref=sr_gallery_34

68-Mike Richards
http://www.redbubble.com/people/theroyalhalf/works/11372396-top-shelf-whiskey?grid_pos=17&p=t-shirt

69-Old Finger
http://skreened.com/bluemoontrading/old-finger-whiskey


(70) REdNeck Drinking Team
http://www.ebay.com/itm/REDNECK-DRINKING-TEAM-T-SHIRT-Tee-FuNnY-Country-Boy-Whisky-Beer-DRUNK-
/261477859202?pt=LH_DefaultDomain_0&var=&hash=item3ce14b7f82

71-Heizenbergs Crystal Meth
http://www.redbubble.com/people/aguvagu/works/11738694-heisenberg-pure-meth?grid_pos=27&p=t-shirt


72-TriForce
http://www.redbubble.com/people/punksthetic/works/11054623-triforce-whiskey?grid_pos=46&p=t-shirt

73-Nevada Chopper
http://www.ebay.com/itm/NEVADA-CHOPPER-OLD-NO-13-V-TWIN-SOUR-MASH-WHISKEY-T-SHIRT-SIZE-L-
/121693053971?pt=LH_DefaultDomain_0&hash=item1c5578a413

74-Ill Be Your Whiskey
http://skreened.com/countryside/whiskey-in-your-water-5142314

75-Bacon Lemmesee
http://skreened.com/davidayala/bacon-flavored-whiskey

76-Shelby Bros
http://www.ebay.com/itm/NEW-PEAKY-BLINDERS-Whiskey-Inspired-T-Shirt-Top-Mens-Birmingham-Shelby-S-to-2XL-
/321791497835?pt=LH_DefaultDomain_0&var=&hash=item4aec44966b

77-Alcatraz Island BOurbon
http://www.redbubble.com/people/gus3141592/works/6298019-alcatraz-island-badguys-bourbon-label?grid_pos=61&p=t-shirt

78-Sum Bitch
http://skreened.com/heeheetees/sumbitch

79-Subaru
http://www.redbubble.com/people/mookiechan/works/12461658-jackanese?grid_pos=221&p=t-shirt

(80) Vader Whiskey




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http://www.ebay.com/itm/Vader-Imperial-Whiskey-Star-Wars-2016-Tee-Shirt-Sizes-Sm-3x-
/321788260958?pt=LH_DefaultDomain_0&hash=item4aec13325e

81-Text Your Ex
http://skreened.com/khaleesi21/text-your-ex

82-Hard Core Lifting
http://www.redbubble.com/people/squatrackcurler/works/12447199-hardcore-old-school-lifting?grid_pos=229&p=t-shirt

83-BlueGrassWhiskey
http://www.ebay.com/itm/Bluegrass-Whiskey-Kentucky-Vintage-Graphic-T-Shirt-Size-Sm-Brand-New-with-tags-
/161526417111?pt=LH_DefaultDomain_0&hash=item259bb986d7

84-Batman Gotham Whiskey
http://www.redbubble.com/people/v-clothing/works/11679707-batman-old-no-7?grid_pos=288&p=t-shirt

85-Whiskey Improves
http://www.ebay.com/itm/DELTA-PRO-WEIGHT-T-SHIRT-WHISKEY-L-SHORT-SLEEVE-BLACK-MULTI-COLOR-100-COTTON-
/281733571447?pt=LH_DefaultDomain_0&hash=item4198a12377


86-FireBall Whiskey
https://www.etsy.com/listing/203566957/whiskey-shirt-fireball-whiskey-makes-
me?ga_order=most_relevant&ga_search_type=all&ga_view_type=gallery&ga_search_query=whiskey%20shirt&ref=sr_gallery_14

87-LooseGoose
http://www.zazzle.com/loose_goose_whiskey_tee_shirt-235478189400265043

88-Johnny Cash
http://www.ebay.com/itm/Johnny-Cash-Whiskey-T-Shirt-New-Direct-from-Manufacturer-
/321171814622?pt=LH_DefaultDomain_2&var=&hash=item4ac754f8de

89-SnakeBite
http://www.ebay.com/itm/Johnny-Cash-Whiskey-T-Shirt-New-Direct-from-Manufacturer-
/321171814622?pt=LH_DefaultDomain_2&var=&hash=item4ac754f8de

(90) Tonight Is Bottoms Up
https://www.etsy.com/listing/203556330/tonight-is-bottoms-up-country-music?ref=related-0
91-WhiskeyBent&HellBound
https://www.etsy.com/listing/238896505/whiskey-bent-and-hell-bound-graphic-
tee?ga_order=most_relevant&ga_search_type=all&ga_view_type=gallery&ga_search_query=whiskey%20shirt&ref=sr_gallery_10

92-Hooters
http://www.ebay.com/itm/Hooters-Riverside-T-shirt-Sze-XL-Whisky-Bottle-Design-Est-1983-
/131477892151?pt=LH_DefaultDomain_0&hash=item1e9cb16c37


93-Supernatural Winchester Bros
http://www.amazon.com/Supernatural-Winchester-Hunters-Whiskey-T-
Shirt/dp/B00JQ0K2BW/ref=sr_1_fkmr0_2?s=apparel&ie=UTF8&qid=1435796531&sr=1-2-
fkmr0&keywords=Supernatural+Winchester+Brothers+whiskey

94-30BillionCalifoniaLosAngeles.jpg
http://www.amazon.com/30-Billion-Street-Fashion-Whiskey/dp/B00Z7NQ58G/ref=sr_1_1?s=apparel&ie=UTF8&qid=1435796683&sr=1-
1&keywords=30+billion+whiskey


95- Batman Dark Knight
http://www.ebay.com/itm/DC-Comics-Batman-Whiskey-Style-Logo-Black-Dark-Knight-T-Shirt-Small-
/111705563672?pt=LH_DefaultDomain_0&hash=item1a022ba218

96 - FudPuckers Whiskey
http://www.ebay.com/itm/FUDPUCKER-HOMEMADE-WHISKEY-FLORIDA-T-SHIRT-SZ-XXXL-NEW-WITH-TAGS-
/361332153843?pt=LH_DefaultDomain_0&hash=item5421131df3

97- Motley Crue Too Fast For Love
http://www.ebay.com/itm/Motley-Crue-Too-Fast-For-Love-Tee-Whiskey-Graphic-Print-T-Shirt-Unisex-Adult-
/271916549546?pt=LH_DefaultDomain_0&var=&hash=item3f4f7d45aa

98- Allways Carry A Flask
http://www.ebay.com/itm/New-Breed-CARRY-A-FLASK-OF-WHISKEY-IN-CASE-SNAKE-BITE-TANK-SHIRT-punk-grunge-
/291180831955?pt=LH_DefaultDomain_0&var=&hash=item43cbbae4d3

99-Lynard Skynyrds Whiskey
http://www.ebay.com/itm/INCREDIBLE-1990-vintage-LYNYRD-SKYNYRD-whiskey-T-SHIRT-sz-MED-
/321793942852?pt=LH_DefaultDomain_0&hash=item4aec69e544




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100 – Us Army American Soldiers
http://www.ebay.com/itm/US-Army-Whiskey-Label-Graphic-T-Shirt-7-62-design-/321790995026?pt=LH_DefaultDomain_0&hash=item4aec3cea52

101- Addiction Clothing
http://www.ebay.com/itm/Guy-Men-Vest-Tank-Tops-Shirt-Classic-Whiskey-Motorcycle-Biker-Chopper-V240-S-3XL-
/181623317106?pt=LH_DefaultDomain_0&var=&hash=item2a4997e272

102 Borubon Street Whiskey
http://www.ebay.com/itm/Bourbon-St-Sour-Mash-Whiskey-T-Shirt-/261836655357?pt=LH_DefaultDomain_0&hash=item3cf6ae4afd

103- Saul Goodmans
http://www.ebay.com/itm/Better-Call-Saul-Whiskey-Tribute-T-Shirt-Heisenberg-Saul-Goodman-Jimmy-McGill-BB-
/261930497937?pt=LH_DefaultDomain_3&var=&hash=item3cfc463791

104-Whiskey Makes Me Friskey Ver2
http://www.ebay.com/itm/Be-As-You-Are-Extra-Large-Black-Whiskey-Makes-Me-Frisky-T-Shirt-Bottle-Label-NEW-
/271537633134?pt=LH_DefaultDomain_2&hash=item3f38e7776e&autorefresh=true

105-WalterWhites Whiskey
http://www.ebay.com/itm/Heisenberg-Style-Walter-White-Whiskey-Logo-T-Shirt-Longslave-Hoodie-Available-
/221704832352?pt=LH_DefaultDomain_0&var=&hash=item339ea34560

106-RockNRoll Sex Whiskey
http://www.ebay.com/itm/Shirt-Original-Sex-Rock-n-Roll-Whiskey-KR76-/171345691636?pt=LH_DefaultDomain_0&var=&hash=item27e4ffc3f4

107-Daryl Dixons
http://www.ebay.com/itm/DARYL-DIXON-tribute-T-SHIRT-Walking-Dead-whiskey-Norman-American-TV-show-zombies-
/111653967444?pt=LH_DefaultDomain_0&var=&hash=item19ff185654

108-Daisy Dukes
http://www.ebay.com/itm/daisy-DUKES-rochester-NEW-york-NY-sour-MASH-whiskey-SHIRT-large-L-bar-HAZZARD-
/310697217144?pt=LH_DefaultDomain_0&hash=item4856ff4c78


109-RatherBe SomeonesWhiskey
http://www.ebay.com/itm/Rather-Be-Someones-Shot-Of-Whiskey-Than-Everyones-Cup-Of-Tea-Girly-TEE-SHIRT-
/321763483720?pt=LH_DefaultDomain_0&var=&hash=item4aea992048

110-MotorHead Whiskey
http://www.ebay.com/itm/MOTORHEAD-MOTORHEAD-TRIBUTE-LEMMYS-FAVORITE-WHISKEY-IRON-CROSS-SPADE-BIKER-SHIRT-
/171447751924?pt=LH_DefaultDomain_0&var=&hash=item27eb1514f4

111-Chevis Regal Whiskey
http://www.ebay.com/itm/New-Chivas-Regal-Whisky-Alcohol-Drinking-Combined-Logo-T-Shirt-Gildan-Brand-Tee2-
/181788147391?pt=LH_DefaultDomain_0&var=&hash=item2a536afebf

112-Brad Paisley Alcohol
http://www.ebay.com/itm/Brad-Paisley-2008-Alcohol-Tour-T-Shirt-XL-Music-Party-Country-Band-Concert-Black-
/381308386994?pt=LH_DefaultDomain_0&hash=item58c7c03eb2

113- SnakeBite Whiskey Lighter
http://www.ebay.com/itm/Zippo-Snake-Bite-Whiskey-Pure-Rye-100-Proof-Black-Matte-Windproof-Lighter-NEW-/371252971475

114 – Oh Whiskey Yer the Devil
https://www.teesforall.com/Whiskey_Yer_The_Devil_St_Pattys_Day_Tee_Shirt-p-23967.html




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     General       No JD   Movie       Music       State/City SpeedShop Products       Culture       Funny       Moonshine Other
 1                                             1
 2             1
 3                                             1
 4                                                                    1
 5                                                                    1
 6                                             1
 7             1
 8                                 1
 9                                                                                 1
10                                             1
11                                             1
12                                 1
13                                             1
14             1
15                                             1
16                                             1
17             1
18                                                         1
19                                             1
20             1
21                                                         1
22                                                                                               1
23                                                                                                           1
24                                                                                                                       1
25             1
26             1
27             1
28             1
29             1
30                                 1
31             1
32                                             1
33             1
34             1
35                                                         1
36                                                         1
37             1
38             1
39                                                         1
40                                                                                                           1
41             1
42             1
43             1
44             1
45             1
46             1
47             1
48             1
49             1
50                                                         1
51                                                                                                                       1
52                                                                                                           1
53                                 1
54             1
55             1
56                                                                                                           1
57             1
58                                 1




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 59             1
 60             1
 61             1
 62             1
 63                                                                                                    1
 64             1
 65                                     1
 66             1
 67             1
 68                                                                                                                                      1
 69             1
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 71                                     1
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 74             1
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 76                                                                                                                                      1
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 82                                                                                                                1
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 86             1
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 88                                                 1
 89             1
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 91             1
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 93             1
 94                                                              1
 95                                     1
 96             1
 97                                                 1
 98             1
 99                                                 1
100                                                                                                                                      1
101                                                                                                                                      1
102                                                              1
103                                                                                                                                      1
104             1
105                                     1
106                                                                                                                                      1
107                                                                                                    1
108                                                                                                                                      1
109             1
110                                                                         1
111                         1
112                                                                                                                                      1
113          1
114          1
            55              1           9           13           8          4            1             4           7           2         10   114


      General       No JD       Movie       Music        State/City SpeedShop Products       Culture       Funny       Moonshine Other




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